
61 B.R. 595 (1986)
In re John D. McCORMICK and Margaret A. McCormick, Debtors.
John D. McCORMICK and Margaret A. McCormick, Plaintiffs,
v.
AMERICAN INVESTORS MANAGEMENT, INC., L.W. Lundbeck, James E. Goss, Lavaughn B. Goss and Frank Alvarez, Does I through V, inclusively, Defendants.
Bankruptcy No. BK-R-83-570, Adv. No. 84-40.
United States Bankruptcy Court, D. Nevada.
June 19, 1986.
*596 F. Thomas Eck, III, Carson City, Nev., for plaintiffs.
Daniel S. Corder, Law Office of Alan R. Smith, Reno, Nev., for American Investors Management.

ORDER
ROBERT CLIVE JONES, Chief Judge.
Debtors demand a jury trial on their complaint seeking recision and damages for defendants' alleged tortious conduct in addition to violations of the Truth in Lending Act, 15 U.S.C. § 1601 et seq. Based upon the arguments of counsel and the Point and Authorities submitted in support of debtors' position, and also noting defendants' failure to submit opposing Points and Authorities, the Court concludes that the debtors have a right to a trial by jury. Furthermore, bankruptcy courts have the power and authority to conduct jury trials. See Walsh v. Long Beach Honda (In re Gaildeen Industries, Inc.), 59 B.R. 402, 405-407 (N.D.Cal.1986), and cases cited. Accordingly,
IT IS HEREBY ORDERED that this adversary proceeding shall be set for a trial by jury.
